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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


  SOURCEAMERICA,et aL,
       Plaintiffs,

                 V.                                           Case No. l:17-cv-893


  UNITED STATES DEPARTMENT OF
  EDUCATION,eta/.,
       Defendants.


                                   MEMORANDUM OPINION


        Plaintiffs SourceAmerica and Lakeview Center, Inc., nonprofits that seek to enhance

 economic opportunities for the blind, requestjudicial review ofthe decision ofan arbitration panel,

 convened by the Secretary of Education, that concluded the Department of the Army ("Army")

 violated the Randolph-Sheppard Act when the Army sought to award to plaintiffs a contract for

 services in Army dining facilities rather than to intervenor, the Kansas Department for Children

 and Families, a state agency that also seeks to enhance economic opportunities for the blind. This

 is a somewhat curious situation—it is, in essence, a dispute between organizations, both of which

 seek to advance the economic interests of the blind, as to which is entitled to a preference in the

 Army's contracting decision. And this curious situation is further compounded by the involved

 factual, legal, and procedural history ofthis case.

        At issues now are the parties' cross-motions for summary judgment. The motions have

 been fully briefed and argued and are now ripe for disposition.
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